Case 1:19-cr-00086-REB Document 44-3 Filed 11/21/19 USDC Colorado Page 1 of 1




DEFENDANT: DAVID WINSTON

AGE/YOB: 28/1990

ADDRESS: COLORADO SPRINGS, COLORADO

COMPLAINT FILED?               YES        X     NO

       IF YES, PROVIDE MAGISTRATE CASE NUMBER:

HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                           YES        X     NO

OFFENSE: COUNT 1:                  CONSPIRACY TO COMMIT PHARMACY
                                   BURGLARY, IN VIOLATION OF 18 U.S.C. § 2118(d);
                                   AND,

              COUNTS 2 – 4:        PHARMACY BURGLARY, IN VIOLATION OF 18
                                   U.S.C. § 2118(b)(1).

LOCATION OF OFFENSES
(County and State):                LAS ANIMAS, PUEBLO, DENVER, & EL PASO
                                   COUNTIES, COLORADO

PENALTY:      COUNT 1:             NMT 10 YEARS IMPRISONMENT, NMT $250,000
                                   FINE, OR BOTH. NMT 3 YEARS OF SUPERVISED
                                   RELEASE, $100 S.A. FEE; AND,

              COUNTS 2 – 4:        NMT 20 YEARS IMPRISONMENT, NMT $250,000
                                   FINE, OR BOTH. NMT 3 YEARS OF SUPERVISED
                                   RELEASE, $100 S.A. FEE.

AGENT/DEPUTY:                      CHRIS MACE, FBI TASK FORCE OFFICER

AUTHORIZED BY:                     JASON ST. JULIEN, ASSISTANT UNITED STATES
                                   ATTORNEY

ESTIMATED TIME OF TRIAL:

   X   five days or less           over five days

THE GOVERNMENT

   X   Will seek detention in this case based on 18 U.S.C. § 3142(f)(1).

The statutory presumption of detention [is / is not] applicable to this defendant.
